

People v Requena (2023 NY Slip Op 00964)





People v Requena


2023 NY Slip Op 00964


Decided on February 21, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 21, 2023

Before: Kapnick, J.P., Oing, Kennedy, Pitt-Burke, JJ. 


SCI No. 4126/19 Appeal No. 17383 Case No. 2020-01716 

[*1]The People of the State of New York, Respondent, 
vJuan Requena, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Benjamin Wiener of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Julia Gorski of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Jonathan Svetkey, J. at plea; Herbert Moses, J. at sentencing), rendered January 28, 2020 convicting defendant, upon his plea of guilty, of attempted burglary in the third degree, and sentencing him to a term of 2 to 4 years, unanimously dismissed as moot.
This appeal, claiming excessiveness of sentence, is moot because defendant has
completed all components of his sentence including parole supervision.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 21, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








